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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  FORT MYERS DIVISION

 UNITED STATES OF AMERICA

 vs.                                                           CASE NO: 2:16-cr-81-FtM-38CM

 BROWN LASTER, JR.


                                              ORDER1

        This matter comes before the Court on Defendant Brown Laster, Jr’s Motion for

 Miscellaneous Relief (Doc. 279) filed on July 3, 2017. Defendant requests an order

 directing the Clerk of Court to issue a subpoena to William Rollerson and for the U.S.

 Marshals Service to serve the subpoena. The Court, having considered the Motion, finds

 good cause and will grant the requested relief.

        Accordingly, it is now ORDERED:

        The Motion for Miscellaneous Relief (Doc. 279) is GRANTED.                     The Clerk is

 directed to issue a subpoena for William Rollerson (Doc. 279-1) and forward it to the U.S.

 Marshals to effect service. This shall be done without cost to Brown Laster, Jr.

        DONE AND ORDERED at Fort Myers, Florida, this July 5, 2017.




 Copies: Counsel of Record

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